 

 

 

US. DISTRRETPeea GAGS 724- EEF DEK Document 30 Filed 09/23/08 Page 1 of 3
| «EASTERN DISTRICT OF LOUISIANA
| é

: FILED |
L_______ UNITED STATES COURT OF APPEALS July 28, 2008
LORETTA 2. WHYTE

United States Court of Appeals
Fifth Circuit

SEP 2 3 2008 FILED

 

CLERK FOR THE FIFTH CIRCUIT Charles a Fulbruge III
lerk

 

 

 

. No. 07-31094
Summary Calendar

 

D.C. Docket No. 2:07-CV-3724 [-

JOAN M PETTY
Plaintiff - Appellant

Vv.
MERCK AND COMPANY INC, a Foreign Corporation
Defendant - Appellee

Appeals from the United States District Court for the
Eastern District of Louisiana, New Orleans.

Before WIENER, STEWART, and CLEMENT, Circuit Judges.

JUDGMENT

This cause was considered on the record on appeal and the
briefs on file.

It is ordered and adjudged that the judgment of the District
Court is affirmed.

ISSUED AS MANDATE: SEP 19 2008 — p
ee

XX Dktg__

—. CtRmDep
—. Doc. No.

 
Case 2:07-cv-03724-EEF-DEK Document 30 Filed 09/23/08 Page 2 of 3

IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT United States Court of Appeals

Fifth Circuit

FILED
July 28, 2008
No. 07-31094
Summary Calendar Charles R. Fulbruge III
Clerk
JOAN M. PETTY
Plaintiff-Appellant

V.
MERCK AND COMPANY, INC, a Foreign Corporation

Defendant-Appellee

 

Appeals from the United States District Court

for the Eastern District of Louisiana
USDC No. 2:07-CV-3724

 

Before WIENER, STEWART, and CLEMENT, Circuit Judges.
PER CURIAM:

Plaintiff-Appellant Joan M. Petty (“Petty”) appeals the district court’s
dismissal, for lack of standing, of her action under the Racketeer Influenced and
Corrupt Organizations (RICO) Act. Affording her pro se brief the benefit of
liberal construction, see Haines v. Kerner, 404 U.S. 519, 520 (1972), Petty argues
that she has standing to sue under RICO based on bodily injury allegedly caused
by the drug Vioxx.

 

* Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion
should not be published and is not precedent except under the limited
circumstances set forth in 5TH CIR. R. 47.5.4.
Case 2:07-cv-03724-EEF-DEK Oe Ag gC Filed 09/23/08 Page 3 of 3
oO. -

_ ARICO plaintiff “must establish that [s]he has standing to sue.” Price v.
Pinnacle Brands, 138 F.3d 602, 606 (5th Cir. 1998). As there is no recovery
under RICO for personal injuries, a plaintiff does not have standing to sue under
18 U.S.C. § 1964(c) based on such injuries. See id. at 607, n.20. Petty has not
shown that the district court erred in dismissing her RICO action for lack of
standing.

Dismissal of Petty’s RICO claim moots her emergency request for a
temporary injunction, which was also not filed in accordance with Fifth Circuit
Rule 27.3. Petty is advised that if the court determines future actions in
connection with this emergency motion or any other action constitute frivolous,
harassing, or contumacious conduct, she will be exposed to sanctions and
penalties.

The judgment of the district court is AFFIRMED. All outstanding motions
are DENIED.
